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' Ctvtt, Ac'ttc)t~t No. /0 - 65

 
       

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I'..EILA MARY/` ) __'__N__,M
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vs ) sat 29 toto
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Sitite 100
Le.t£rtgton, I{Y 40509 )
Defendtmt )
CGMPLAINT

NOW COMES, the P§aintiff, L¢:'tia Merry, by mtd through her attorney Jolm W.
Fot)te, and fot.‘ her Complaint against the Defendant, Credit thttétms, LLC Ptaittti.tt’
alleges and states as follc)wsa:
PBEL,IMINARY STATEMEM‘
t_ This is tm action for actual and statutory damage:t for violations ot`tlte Fair
cht Collec_tion Practices Act (herein met the “`FDCPA."), 15 U.S.C. § 369?., et seq.

JURISDICTION ANI) VENUE

 

2. Jurisdictitm arises under the FDCPA, 15 U.S.C. § 3692 et seq., Ventte lies
properly in this Coutt that the amount in m)nttoversy is less than $4,000,00 and the
Plaintif’r` iive.<t in thc County of Kentmt and vio¥ation of the above act occurred in Ken'ton
County and may be brought in Courts of Kentucky.

PARTIES

3. Plztintit`f is an individual who Was at all relevant times residing in K.enton

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3

C.ottnty Kentocky.

4. 'Pi.a.irttiff i$ a "ctmsumer" as defined itt 15 U.S.C. § i,&.®?.a(_$), as she is o
natural person aitegediy obiigated to pay tt debt

5. At aii reievamt times, Dofeodant acted as tt “deitt eoiiecto_r" Witiiin tile
meaning of tS U.S,C. § t 692§1(6). in that it heid itself out to be a company collecting a
consumer debt

o'. {)n infonnation and bciiet`, Dcfendant is it corporation ct the Stetc of
Keotuclcy which is iiccns;ed to do business in Kcntucky which has its principal place oi'
business at 3290 Biezet Perkwey, Suite 100, Lexington, Kcntucky 40509-1847.

COL}N'I` .I
(Violetion of tile l‘~‘eir Il)ebt Coliection Practices Act)

7. On or about August 2` 203 0_. Piaintiffreceived it W\'it:t:i_i“_eo_r;remergcri_c_i'e}tee
t`rom representatives of Det`eo¢:}ant_, including but not limited to lone Y...ogao, Coiiection
Mamtgcr in regard to collection of the aforementioned alleged debt Timt the debt was
owed to St. Lo.ke liospitel in the amount ot`.i>i 84.20.

8. Ort or about Augttst l i, 2010 Pl.eintift` sent cottespondcoce to tito
Dei'endent pursuant to the above act requesting validation of the debt This written notice
was sent by certified meil, receipt requested sec E)thibit A. °lfhe written request was
received by the Det`endent on August tit and signed for by an agent/employee ot`the
Defcndant according to thc receipt returned

9. I§)efeedant never provided Pieinti'f`f with the written notice veiiciatioo

which is required to be given by 55 U.S.C. § 1692g within 30 days or as ofthe date of

institution of this soit.

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lO. lo its attempt to collect the aforementioned alleged dcbt, Det"endant
violated the FDCPA` in one or more ol' the tollett/ing ways:

Using o felsc_. deceptive or misleading representation or means in
connection with the collection ot` the alleged dcbt, in violation of 15
usc § iec:ze(io);

Faiiing to Send the written notice to `Plaintiff which is required by 15
U.S.C. § 1692g(a); v

Parricipatiog, in collection activities which cvershedowed and/or were
inconsistent with Plztintit`f’s right to dispute the debt cr to request the came
end address of the original creditcr, in violation cf 15 U.S.C.. § l692g(‘o);
end

By acting iii an otherwise deceptive unfair end unconscionable manner
end failing to comply with the FDCPA.

ll. As a result ol" Det`endant’s violations ne aforesaid Pleintii`f has suffered
and continue to suffer personal humiliaticn_. embarrassment mental anguish end
emotional distrcee,

WI-l EREFORE, Piointitt` Leile Mrespectfuliy prays lot a judgment as
‘t"ollowe:

tt. All actual compcnsotoiy damages eul`i"ercd;

b. Stntntory damages of $l ,OOO.()(} for each violation oi"tlic FDCPA;

o. All reasonable nttorneys." fees, witnes'.e fees, courts costs and other

iitigotion costs incurred by Plein ti ll`; and

d. An.y other relief deemed appropriate by this i'l`onorniilc Court.

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Bes amftu submitted

22 C2\ 2,,,“2:

§/222 W. z=oore (KBA#:)"z?'/o>

6 West Fifih St.rcet

2 Covingtcm_. KY 410§!
Attorm:y for Plaint€ff
859-655-3001
859»655-3004 (fax)

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Dea\' Leiin Mc-:u'y.
'I'h¢ wave e'e€evencec% nccnum,{s) have been placed wick us by our cliem'{s') in rhc'anwum 09 $134.20 Fm' col}cciion.

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eherect'. this office win assume this clch is valid. I%“ you notify this office in writing within 30 days from receiving chi.z notice
than you dispute the validity of this debt or any portion iherec»f`, chi.-. of%`\cc wi§l obmln verificar§on o£:` the debt or obtain a copy
of a judgmenc and mail you n copy of such judgement or ve\'it'scaticm. l§` you request of this office in writing within 30 days
after receiving this notice this office wii¥ provide you with chc name and address ofth original cre<l§tcrr, if` different from the
current cfcéilor.

This is an atmmpz w cnll¢cz 2 debt and any int'ornmtion obtained wi§l bc used for that purposa Thi.v. cnmuumicatiou is from a
debt cc)%§cctm. `

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THE DEPARTMEN`I` GF COMMIERCF. AND INSURANCF, IN THE S'I'A`l"ki O}" `l`liNNl`:SSE'E..

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|.'2]

3 You are hereby notified a zegal action has been men against you m this Uoiift demanding relief as shown on

the document denveer to you with this Summons. Hn!ess a written defense is made by you or by an attorney on
your beha!f and fiied in the Cierk's Offic@ within 20 days foiiowing the day this paper is denveer ic you. judgment by
default may be taken against you for the relief demanded in the attached C.nmp|ain!.

Th@ name(s) and address(es) of the party or parties demanding reii@f against you are shown on the dobument
delivered to you witht is Surnmons. ‘

Daie: ? 1 3 ,chijj

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Prcmf of Servir:.e
This Summons was seiveci by delivering a true copy and the Compiaint (or other initiat|ng documeni) to:

 

 

this day of ` . `. 2

Served by:

 

T'itie

 

 

